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United States District Court
Southern District Of Texas
FILED
UNITED STAT ES DISTRICT COURT MAY 26 2020
SOUTHERN DISTRICT OF TEXAS David J. Bradt
McALLEN DIVISION * Bradley, Clerk

UNITED STATES OF AMERICA

Vv. Criminal No. M-20-0354-M-S1

CM UD Mum

JOSE FRANCISCO GUERRA
NOTICE OF PLEA AGREEMENT

COMES NOW the United States of America, hereinafter referred to as "the Government,"

by and through its United States Attorney for the Southern District of Texas and its Assistant

United States Attorney assigned to this matter, and would respectfully show the Court that the

Government and the Defendant have entered into the following plea agreement:

1. Defendant agrees:
a. to plead guilty to Count One of the Indictment;
b. to forfeit his Customs Broker License;
C. to pay a fine as determined by the Court;
d. to waive any and all interest in any asset which is the subject of a related

administrative or judicial forfeiture proceeding, whether criminal or civil,
federal or state, including the property listed in the Superseding
Indictment’s Notice of Forfeiture, and Supplemental Notice of Forfeiture,
and Defendant agrees to the forfeiture of that property. Defendant agrees to
waive any and all procedural notice requirements for forfeiture. Defendant
consents to the order of forfeiture becoming final as to Defendant
immediately following this guilty plea, pursuant to Federal Rule of Criminal
Procedure 32.2(b)(4)(A).

2. The Government will recommend:

a. that the offense level decrease by 2 levels pursuant to U.S.S.G. § 3E1.1(a)
if the defendant clearly demonstrates acceptance of responsibility; and

b. that the remaining counts of the superseding indictment be dismissed at the
time of sentencing.

If the Defendant is not a citizen of the United States of America, a plea of guilty may result

in removal from the United States, denial of citizenship and denial of admission to the United
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result in removal from the United States, denial of citizenship and denial of admission to the
United States in the future. If the Defendant is a naturalized United States citizen, a plea of
guilty may result in denaturalization.

This document states the complete and only Plea Agreement between the United States
of America and the Defendant, and is binding only on the parties to this Agreement, and it
supersedes
all prior understandings, if any, whether written or oral, and cannot be modified other than in
writing and signed by all parties or on the record in Court. No other promises or inducements
have been or will be made to the Defendant in connection with this case, nor have any promises
or threats been made in connection with this plea.

ACKNOWLEDGMENTS:

I have read this agreement and carefully reviewed every part of it with my attorney. IfI

have difficulty understanding the English language, I have had a person fluent in the Spanish

language interpret this agreement to me.
~
Date: -2i\v QD Defendant: ee

I am the Defendant's counsel. I have carefully reviewed every part of this agreement
with the Defendant. I certify that this agreement has been translated to my client by a person
fluent in the Spanish language if my client is unable to read or has difficulty understanding the

English language.

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.For the United States of America:

RYAN K. PATRICK
United States Attorney

Mh;
Michael Mitchell
Assistant United States Attorney
APPROVED BY:

fy James H. trois

Assistant United States Attorney in Charge

 

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